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           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON,                              :
                                          :     1:16-CV-1958
                Plaintiff,                :
                                          :     Hon. John E. Jones III
                                          :
    v.                                    :
                                          :
THE MILTON HERSHEY SCHOOL,                :
et al.,                                   :
                                          :
                Defendants.               :


                                  ORDER

                                May 6, 2020

    In conformity with the Memorandum issued on today’s date, IT IS

HEREBY ORDERED THAT:

    1.    Defendants’ Motion for Summary Judgment, (Doc. 198), is

          GRANTED.

    2.    The Clerk of the Court SHALL CLOSE the file on this case.

    3.    F. Frederic Fouad’s First Motion to Intervene, (Doc. 201), is

          DENIED as moot.


                                                /s/ John E. Jones III
                                                John E. Jones III
                                                United States District Judge



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